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    In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                       No. 01-064V
                                   (Not to be published)

*************************
                                   *
MAREK MILIK and JOLANTA MILIK, *
legal guardians and parents of AM, *
                                   *                        Filed: August 31, 2017
                      Petitioners, *
                                   *                        Decision on Attorneys’ Fees and
               v.                  *                        Costs; Attorney Hourly Rates;
                                   *                        Reasonable Basis
SECRETARY OF HEALTH AND            *
HUMAN SERVICES                     *
                                   *
                      Respondent.  *
                                   *
*************************

Robert Krakow, New York, NY, for Petitioners.
Lisa Watts, U.S. Department of Justice, Washington DC, for Respondent.


               DECISION AWARDING ATTORNEYS’ FEES AND COSTS

HASTINGS, Special Master.

        In this case under the National Vaccine Injury Compensation Program (hereinafter “the
Program”1 ), Petitioners seek, pursuant to 42 U.S.C. § 300aa-15(e)(1), an award for attorneys’
fees and other costs incurred in attempting to obtain Program compensation. After careful
consideration, I have determined to grant the request in substantial part, and deny it in part.




1 The applicable statutory provisions defining the Program are found at 42 U.S.C. § 300aa-10 et
seq. (2012 ed.). Hereinafter, for ease of citation, all "§" references will be to 42 U.S.C. (2012
ed.). The statutory provisions defining the Program are also sometimes referred to as the
“Vaccine Act.”

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                                                          I

    BACKGROUND LAW CONCERNING ATTORNEYS’ FEES AND COSTS AWARDS


         Special masters have the authority to award “reasonable” attorneys' fees and litigation
costs in Vaccine Act cases. §300aa–15(e)(1). This is true even when a petitioner is unsuccessful
on the merits of the case -- in such cases, a special master “may” award fees, if the petition was
filed in good faith and with a reasonable basis. 2 Id. “The determination of the amount of
reasonable attorneys’ fees is within the special master's discretion.” Saxton v. HHS, 3 F.3d 1517,
1520 (Fed. Cir. 1993); see also Shaw v. HHS, 609 F.3d 1372, 1377 (Fed. Cir. 2010).

        Further, as to all aspects of a claim for attorneys’ fees and costs, the burden is on the
petitioner to demonstrate that the attorneys’ fees claimed are “reasonable.” Sabella v. HHS, 86
Fed. Cl. 201, 215 (2009); Hensley v. Eckerhart, 461 U.S. 424, 437 (1983); Rupert v. HHS, 52
Fed. Cl. 684, 686 (2002); Wilcox v. HHS, No. 90–991V, 1997 WL 101572, at *4 (Fed. Cl. Spec.
Mstr. Feb. 14, 1997). The petitioner’s burden of proof to demonstrate “reasonableness” applies
equally to costs as well as attorneys’ fees. Perreira v. HHS, 27 Fed. Cl. 29, 34 (1992), aff'd, 33
F.3d 1375 (Fed. Cir. 1994).

         One test of the “reasonableness” of a fee or cost item is whether a hypothetical petitioner,
who had to use his own resources to pay his attorney for Vaccine Act representation, would be
willing to pay for such expenditure. Riggins v. HHS, No. 99–382V, 2009 WL 3319818, at *3
(Fed. Cl. Spec. Mstr. June 15, 2009), aff’d by unpublished order (Fed. Cl. Dec. 10, 2009), aff’d,
406 Fed. App’x. 479 (Fed. Cir. 2011); Sabella v. HHS, No. 02–1627V, 2008 WL 4426040, at
*28 (Fed. Cl. Spec. Mstr. Aug. 29, 2008), aff’d in part and rev’d in part, 86 Fed. Cl. 201 (2009).
In this regard, the United States Court of Appeals for the Federal Circuit has noted that:
         [i]n the private sector, ‘billing judgment’ is an important component in fee setting. It is
         no less important here. Hours that are not properly billed to one’s client also are not
         properly billed to one’s adversary pursuant to statutory authority.

Saxton, 3 F.3d at 1521 (emphasis in original) (quoting Hensley, 461 U.S. at 433–34). Therefore,
in assessing the number of hours reasonably expended by an attorney, the court must exclude
those “hours that are excessive, redundant, or otherwise unnecessary, just as a lawyer in private
practice ethically is obligated to exclude such hours from his fee submission.” Hensley, 461 U.S.
at 434; see also Riggins, 2009 WL 3319818, at *4.

        The Federal Circuit has also made clear that special masters may rely on their prior
experience in making reasonable fee determinations, without conducting a line-by-line analysis
of the fee bill, and are not required to rely on specific objections raised by respondent. See
Saxton, 3 F.3d at 1521; Sabella, 86 Fed. Cl. 201, 209 (2009); see also Wasson v. HHS, 24 Cl. Ct.
482, 484, 486 (1991), aff’d, 988 F.2d 131 (Fed. Cir. 1993) (holding that, in determining a

2 In this case, I find that the claim was initiated in good faith and with a reasonable basis. However, as will be
explained below, I find that Mr. Krakow’s decision to appeal this case beyond the U.S. Court of Appeals was not
reasonable.

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reasonable number of hours expended in any given case, a special master may rely on her
experience with the Vaccine Act and its attorneys, without basing his decision on a line-by-line
examination of the fee application). A unanimous Supreme Court has articulated a similar
holding:

         We emphasize, as we have before, that the determination of fees “should not result in a
         second major litigation.” The fee applicant (whether a plaintiff or a defendant) must, of
         course, submit appropriate documentation to meet “the burden of establishing entitlement
         to an award.” But trial courts need not, and indeed should not, become green-eyeshade
         accountants. The essential goal in shifting fees (to either party) is to do rough justice, not
         to achieve auditing perfection. So trial courts may take into account their overall sense of
         a suit, and may use estimates in calculating and allocating an attorney’s time. And
         appellate courts must give substantial deference to these determinations, in light of “the
         district court’s superior understanding of the litigation.” We can hardly think of a sphere
         of judicial decisionmaking in which appellate micromanagement has less to recommend
         it.

Fox v. Vice, 563 U.S. 826, 838

                                                          II

                                         PROCEDURAL HISTORY


        Petitioner Marek Milik 3 filed a pro se petition under the Vaccine Act on January 31,
2001, alleging that his son, AM, was injured by an MMR vaccination given to him on January
29, 1998. (Petition at 1.) The Secretary of Health and Human Services (“Respondent”) filed a
report, on June 1, 2001, opposing the petition for compensation. (See ECF No. 6.) Proceedings
were delayed for several years at the Petitioner’s request, to allow time to obtain counsel and to
assemble and file expert reports. However, status reports were filed when necessary, and status
conferences were held periodically throughout the duration of this case.

        Dr. Adrian Logush, a pediatric neurologist, wrote a report, which Petitioners filed on
November 21, 2007. (ECF No. 48.) On March 27, 2008, Respondent filed the expert report of
Dr. Michael Kohrman. (ECF No. 53.) However, the Petitioners then elected not to proceed to an
evidentiary hearing with Dr. Logush as their expert. They instead continued to seek a more
persuasive expert report for yet another four years.

       Mr. Marek represented his son as a pro se petitioner until August 7, 2009, when attorney
Robert Krakow became counsel of record. (ECF No. 61.)

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  The original Petitioner was Marek Milik, who represented his minor son, AM. However, on July 11, 2013, I granted
a motion to amend the caption. (Order, ECF No. 142.) The altered caption indicated that AM was represented by both
of his parents, Petitioners Marek Milik and Jolanta Milik. (Id.) On April 30, 2014, the caption of this case was further
amended both to redact AM’s name to protect his privacy, and to indicate that while AM is no longer a minor, he is
still being represented by his parents because he is a person with a disability requiring guardianship. (ECF Nos. 161,
163.)

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        Petitioner filed multiple medical records in 2011 (ECF Nos. 82, 83), followed by an
expert report by Dr. Nizar Souayah, on November 10, 2011 (ECF. No. 84). Respondent filed a
supplemental expert report by Dr. Kohrman, responsive to Dr. Souayah’s report, on March 5,
2012. (ECF No. 88.)

        Once Petitioner and Respondent filed their expert reports, and Petitioner filed the
appropriate medical records, I conducted an evidentiary hearing on March 7, 2013. (See
Transcript, ECF No. 129.) At the hearing, Petitioner presented oral testimony from Dr. Nizar
Souayah, while Respondent relied on Dr. Kohrman. (Id.)

       Shortly after the hearing, Petitioner filed a Motion for Interim Attorneys’ Fees and Costs.
(ECF No. 126.) On April 16, 2013, the parties jointly filed a Stipulation concerning interim fees
(ECF No. 132). I filed a Decision on the same day, awarding Petitioner a total of $169,624,
representing attorneys’ fees of $130,723, attorneys’ costs of $36,901, and Petitioner’s own costs
of $2,000. (ECF No. 133.) The fees and costs incurred by the Petitioners after the time period
addressed by the interim fees decision is the matter under consideration here.

         Petitioners’ post-hearing brief was filed on August 12, 2013 (ECF No. 147.) Respondent
filed a post-hearing brief in response on September 30, 2013. (ECF No. 148.) Petitioners filed a
reply brief on November 27, 2013. (ECF No. 153.)

      On October 29, 2014, I filed my Decision in this case, which denied entitlement to
compensation under the Vaccine Act. (ECF No. 164.)

        Petitioners filed a Motion for Review of that decision on November 28, 2014 (ECF No.
166), and Respondent filed a Response on December 18, 2014 (ECF No. 168). The opinion of
Chief Judge Patricia Campbell-Smith was filed in the U.S. Court of Federal Claims, on April 29,
2015, denying Petitioners’ motion for review. (ECF No. 169)

         Thereafter, Petitioners filed an appeal with the U.S. Court of Appeals for the Federal
Circuit, on July 2, 2015. (ECF No. 172.) After due consideration, the appellate judicial panel
filed a ruling on May 20, 2016, which affirmed the underlying decisions. Milik v. HHS, 822 F.3d
1367 (Fed. Cir. 2016.)

       On June 30, 2016, Petitioners (Appellants) filed a Petition for Panel Rehearing combined
with a Petition for Rehearing En Banc by the U.S. Court of Appeals for the Federal Circuit.
(ECF No. 175, p. 8.) Both requests were denied on August 31, 2016. (Id.)

       A Petition for Writ of Certiorari was filed with the U.S. Supreme Court on November 29,
2016. (Id.) This petition was denied on May 30, 2017.

        Petitioners filed an application for final attorneys’ fees and costs (“Application”) on
August 12, 2017, requesting a total of $190,039 for attorneys’ fees, and $18,042 for attorneys’
costs. (ECF No. 175, p. 1.) On August 22, 2017, Respondent filed a Response to Petitioner’s
application, recommending “that the Special Master exercise his discretion and determine a

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reasonable award for attorneys’ fees and costs.” (ECF No. 176, p. 3.) On August 27, 2017,
Petitioners filed a Reply to Respondent’s Response. (ECF No. 177.)

                                                   III
                                               DISCUSSION

    A. Good faith and reasonable basis

        Respondent’s Response to Petitioners’ application states that “Respondent is satisfied that
the statutory requirements for an award of attorneys’ fees and costs are met in this case.” (ECF
No. 176, p. 2) I conclude that Petitioners initially prosecuted this case in “good faith’ and with a
“reasonable basis,” as required by the Vaccine Act. See 42 U.S.C. §300aa-15(e)(1)(A)-(B).
However, I find that the subsequent petitions for a panel rehearing, a rehearing en banc, and a
writ of certiorari to the U.S. Supreme Court lacked a reasonable basis, as will be further
discussed in Sec. III(C).

    B. Hourly rates

        There were three lawyers who billed at attorneys’ hourly rates for participating in the
presentation of Petitioners’ case: Robert Krakow, Susan Lee and Gilbert Gaynor. (ECF No. 175,
pp. 18-19.) In addition, Mr. Krakow occasionally billed his own hours at a paralegal rate for
non-attorney work that he performed (see ECF No. 175-2, pp. 1, 4, 8, 9, 13, 24, 26), and for non-
attorney work performed by attorney Helen Sturm (see ECF No. 175-2, p. 18.)

        1. Hourly rates of Robert Krakow

        Mr. Krakow has been engaged in the practice of law for 37 years, and he has practiced in
the Vaccine Injury Compensation Program for 14 years. (ECF No. 175-1, pp. 3, 6.) His billing
record indicates the following hourly rates: $385 per hour in 2013, $396 per hour in 2014, $413
per hour in 2015, and $425 per hour in 2016. (Id., p. 3.) These requested rates for 2013 to 2016
are within the ranges set forth in McCulloch v. HHS, No. 09-293V, 2015 WL 5634323, *16 (Fed.
Cl. Spec. Mstr. Sept 1, 2015), and the Office of Special Masters (“OSM”) suggested fee
schedules. 4 Furthermore, there are various decisions by special masters who have determined
that these rates are reasonable compensation for Mr. Krakow’s legal services. See e.g., Laderer
v. HHS, No. 09-097V, 2016 WL 3044838, at *3 (Fed. Cl. Spec. Mstr. Apr. 20 2016); R.V. v
HHS, No. 08-504V, 2016 WL 7575568 (Fed. Cl. Spec. Mstr. Nov. 28, 2016). I find that Mr.
Krakow is entitled to the hourly rates that he requested, as these amounts are reasonable for an
attorney with his level of experience.

        2. Hourly rates of Susan Lee

        Ms. Lee’ requested billing rate is $330 per hour in 2013, $340 per hour in 2014, and $360
per hour in 2015. (See ECF No. 175-2, p. 45.) She has been practicing law in the New York
City area since 1996. The requested rates fall within the ranges set forth in McCulloch, and in

4See United States Court of Federal Claims – Office of Special Masters Attorneys’ Forum Hourly Rate Fee
Schedules, available at http://www.uscfc.uscourts.gov/node/2914 (last accessed August 23, 2017).

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the OSM suggested fee schedules. Also, compensation at these rates was previously awarded for
Ms. Lee’s services in Moritz v. HHS, No. 15-965V, 2016 WL 8786193, at *4 (Fed. Cl. Spec.
Mstr. Dec. 12, 2016) and R.V. v. HHS, 2016 WL 7575568, at *2. I find that the hourly rates
requested by Ms. Lee are reasonable in this case.

       3. Hourly rates of Gilbert Gaynor

       In Section II(C) of this opinion, I explain why Petitioners’ award for attorneys’ fees and
costs will not include compensation for any of the hours expended by Mr. Gaynor in this case.
Accordingly, it is not necessary to discuss his hourly rate of payment.

       4. Paralegal hourly rates

        As mentioned above, attorneys Robert Krakow and Helen Sturm performed paralegal
work on this case, billing at a rate of $125 per hour (and at $140 per hour in 2017) to prepare
binders and exhibits, and similar tasks. These billing rates have been found appropriate for
paralegal-type work performed by Mr. Krakow and other lawyers. See e.g., Moritz, 2016 WL
8786193, at *5; Laderer, 2016 WL 3044838, at *3. I find that a rate of $125 per hour (and
$140/hr. in 2017) is reasonable for the paralegal work performed in this case.

   C. Number of hours

        As previously noted, when calculating the number of hours reasonably expended by an
attorney, the court must exclude those “hours that are excessive, redundant, or otherwise
unnecessary, just as a lawyer in private practice ethically is obligated to exclude such hours from
his fee submission.” Hensley, 461 U.S. at 434; see also Riggins, 2009 WL 3319818, at *4.

       1. Hours expended between April 1, 2013 and June 5, 2016

        Petitioners filed their Application for interim attorneys’ fees and costs on March 31,
2013, requesting an award for the time spent until that date. (ECF No. 126.) On April 1, 2013,
counsel commenced billing for time spent preparing their post-hearing briefs and subsequent
appeals. I find that the number of hours requested by Petitioners for work performed on these
matters, until June 5, 2016, were reasonable and should be compensated.

       2. Hours expended on June 6, 2016 and thereafter

         Mr. Krakow participated in the oral argument regarding this case before the U.S. Court of
Appeals for the Federal Circuit, on March 23, 2016. (ECF No. 175-2, pp. 27-28.) Thereafter, he
reasonably billed a very small amount of time (1.8 hours) on various tasks related to that appeal.
(Id., p. 28.) However, beginning on June 6, 2016, Mr. Krakow commenced billing for activities
related to his applications for rehearing the case in the Federal Circuit, and for his certiorari
petition to the U.S. Supreme Court. (Id.)

        In Milik v. HHS,822 F.3d 1367 (Fed. Cir. 2016), the Court of Appeals offered the
following assessment: “The Miliks essentially ask this court to reweigh the factual evidence and

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assess the credibility of the witnesses. As an appellate tribunal, we can do neither.” Id. at 1376,
citing Porter v. HHS, 633 F.3d 1242, 1249 (Fed. Cir. 2011). Nonetheless, the Court of Appeals
carefully considered Petitioners’ arguments concerning facts and credibility, and held that “the
special master’s decision was not ‘arbitrary, capricious, an abuse of discretion, or otherwise not
in accordance with law.’” Id., at 1382, citing 42 U.S.C. §300aa-12(e)(2)(B). This ruling affirmed
the decision of Chief Judge Campbell-Smith of the U.S. Court of Federal Claims, who had
applied the statutory standard of review to deny Petitioners’ Motion for Review.

        This affirmance concluded with the comment that the Federal Circuit had found
Petitioners’ “remaining arguments unpersuasive.” Milik, 822 F.3d 1367, at 1382. What were
those other arguments? Petitioners also argued that:

       [T]he Vaccine Act unconstitutionally denies them access to de novo review in an
       Article III court. Specifically, they argue that, by limiting a Vaccine injury
       claimant to filing a claim against the Secretary in an Article I court, “the Vaccine
       Act has deprived petitioners of the rights granted in Article III of the United
       States Constitution and the common law protections afforded in state courts for
       tortious injuries against the manufacturers of vaccines.”

Id. at 1376 (quoting Petitioners’ appellate brief.) This argument contemplates the
constitutionality of one aspect of the Vaccine Act; that is, the applicable standard of review for
appeals of decisions by special masters in the Vaccine Program. This is a matter that may be
appropriate for the Court of Appeals to address, unlike Petitioners’ attempt to re-litigate the
special master’s determinations concerning facts and witness credibility. And, Petitioners’
counsel made a colorable argument that the contested statutory standard of review prevented
Petitioners from receiving de novo consideration of the merits of their case, based on a
reexamination of the existing record.

        The Court of Appeals considered Petitioners’ constitutionality arguments, and rejected
them, concluding that, “we continue to review the special master’s findings of fact under the
deferential arbitrary and capricious standard.” Id. at 1378-9. Then, the court applied that
standard to this case, and reached a final decision.

         I have reviewed the Court of Appeals’ opinion carefully, and weighed the persuasiveness
of Petitioners’ constitutionality arguments before the Federal Circuit, concluding that they were
tenuous and unconvincing. See Milik, 822 F.3d, at 1382 (stating “we find the Miliks’ remaining
arguments unpersuasive.”). My first inclination would be to find this entire appeal an
unnecessary and unreasonable misuse of the Vaccine Program. Yet, giving counsel in this case
the benefit of the doubt, I find that the initial appeal to the Federal Circuit was not wholly
unreasonable, and I will compensate counsel for that appeal.

        However, after the court panel published their emphatic decision, the likelihood that
Petitioners might receive a more favorable outcome in a panel re-hearing, or an en banc re-
hearing, was virtually nil. The choice by Petitioners’ counsel to continue appealing further
demonstrates poor judgment. Even worse, counsel chose to retain an appellate specialist, Mr.
Gaynor, and expend more than 100 attorney hours on a petition for certiorari.

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        Petitioners’ counsel insists that Respondent’s waiver, on January 3, 2017, of
Respondent’s right to respond to the petition for certiorari is quite significant. (See ECF No.
175, p. 8.) In my opinion, it merely signifies that Respondent did not consider a response
necessary or worthwhile. Petitioners’ counsel also emphasizes that after this waiver, the U.S.
Supreme Court actually requested a response from Respondent concerning Petitioners’
constitutional issue. (Id., p. 10.) Counsel argues that this “request for a response by the Supreme
Court establishes, at least, that petitioners had a reasonable basis to pursue the Constitutional
issue.” (Id.)

        I disagree with this assertion. After reviewing the petition for certiorari and the
requested response from Respondent, the Supreme Court rejected the petition for certiorari,
without written comment. Milik v. Price, 137 S. Ct. 2206 (2017). I cannot conclude from this
sequence of events that there was a reasonable basis to proceed further, especially in light of the
determination by the Federal Circuit that Petitioners’ arguments regarding constitutionality were
“unpersuasive.” Milik, 822 F.3d, at 1382. Accordingly, I will not award any of the requested
fees for hours spent by Petitioners’ counsel and staff concerning the petition for panel rehearing
on rehearing en banc, since those efforts were unreasonable. Likewise, I will not award any
attorneys’ fees or costs for the petition for certiorari to the U.S. Supreme Court, because that
effort was also unreasonable.

           a. Hours billed by Mr. Krakow

       The 44.4 hours billed by Mr. Krakow in 2016 to continue appellate litigation of this
matter after June 5, 2016, will not be compensated. (See ECF No. 175-2, pp. 28-39.) Likewise,
in 2017, Mr. Krakow will not be compensated for another 5.1 hours billed for time he expended
on matters related to the certiorari petition. (Id., pp. 39-40.)

        In 2017, Mr. Krakow expended 10.2 hours billed at an attorney’s rate ($435 per hour),
and 6.5 hours billed at a paralegal rate ($140 per hour), to assemble the final application for
attorneys’ fees and costs. I find that this constitutes a reasonable amount of time to prepare the
application, and that the division of attorney’s hours and paralegal hours is appropriate.

           b. Hours billed by Ms. Lee

      The hours billed by Ms. Lee in 2013, 2014 and 2015, were reasonable and will be
compensated in the award.

           c. Hours billed by Mr. Gaynor

        Attorney Gilbert Gaynor states that he expended 34.4 hours in 2016, and 35.1 hours in
2017, working on Petitioners’ petition for certiorari to the Supreme Court. (See Declaration of
Gilbert Gaynor, ECF No. 175-6.) The hours he billed commence on September 9, 2016; that is,
more than three months after publication of the Federal Circuit decision in this case. (ECF No.
175-7, p. 1.)



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        As previously explained in this Section, all of these hours pertain to the work he
performed preparing the certiorari petition. I have concluded that pursuit of an appeal of this
matter to U.S. Supreme Court was entirely unreasonable. Accordingly, Petitioners will not be
compensated for these hours.

   D. Attorneys’ costs


        The Petitioners themselves did not have any litigation expenses during the time period
covered by their Final Application for attorneys’ fees and costs. (ECF No. 175-4.) However,
Petitioners’ counsel requests compensation for $18,041.35 of attorneys’ expenses incurred
during that time period. (See ECF Nos. 175, p. 19, and 175-1, p 12.) Counsel states that “the
documents and receipts supporting the costs claimed are filed as Exhibit 38-Tab 3 accompanied
by a Table listing the costs and corresponding supporting receipts.” (ECF No. 175-1, p. 11.)

        My examination of the “Table” listing costs reveals that Petitioners’ counsel has
documented a total of $16,993.85 (hereinafter, “$16,994”). (ECF Nos. 175-3, p. 1, and 175-2,
p. 43.) Therefore, since the difference between the $18,041 claimed, and the $16,994 actually
documented is not explained, I commence my analysis regarding costs based on the latter
amount, which was documented.

        The particular items described in the Table (ECF No. 175-3, p. 1) constitute primarily the
reasonable costs for purchasing medical records, shipping, photocopying, and travel. However,
there are two items listed that pertain to the unreasonable appellate litigation that occurred after
the decision of the Court of Appeals for the Federal Circuit. Those expenses are: $5,444 on
12/15/16 for “Certiorari bill;” and $1,204 on 5/2/17 for “Counsel Press for Milik Reply
SCOTUS.” (ECF No. 175-3, p. 1.) Together, these two entries amount to $6,648 of expenses,
which will not be compensated in the award.
                                                IV

                              CALCULATION OF THE AWARD

   A. Attorneys’ Fees

       1. Robert Krakow
                                in 2013    97.5 hours        @ $385/hr.    =         $37,537.50
                                in 2014    59.8 hours        @ $396/hr.    =          23,680.80
                                in 2015   103.5 hours        @ $413/hr.    =          42,745.50
           67 hrs. - 44.4 hrs. in 2016 = 22.6 hours          @ $425/hr.    =            9605.00
           15.4 hrs. – 5.2 hrs. in 2017 = 10.2 hours         @ $435/hr.    =           4,437.00
         travel time at ½ rate in 2016     20.8 hours        @ $212.50/hr. =           4,420.00
          at paralegal rate 2013-2016      39.1 hours        @ $125/hr.    =           4,887.50
             at paralegal rate in 2017      6.5 hours        @ $140/hr.    =             910.00
                                                                   sub-total       $ 128,223.30




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         2. Susan Lee
                               in 2013        3.0 hours     @ $330/hr.    =              990.00
                               in 2014        4.3 hours     @ $340/hr.    =            1,462.00
                               in 2015        8.85 hours    @ $360/hr.    =            3,186.00
                                                                  sub-total        $   5,638.00

         3. Helen Sturm
              at paralegal rate in 2014      20.50 hours    @ $125/hr.      =          2,562.50

                                                            Total Fees             $ 136,423.80

     B. Costs
    $16,994 (documented costs) - $6,648 (unreasonable costs) = (reasonable costs) $10,346.00

                                           TOTAL FEES and COSTS                    $146,769.80


                                                V

                                          CONCLUSION



       For the foregoing reasons, I hereby award the following attorneys’ fees and costs
pursuant to 42 U.S.C. § 300aa-15(b) and (e)(1):

         •      a lump sum of $146,769.80, in the form of a check payable jointly to Petitioners
                and Petitioners’ counsel, Robert J. Krakow, on account of services performed by
                counsel’s law firm.

       In the absence of a timely- filed motion for review filed pursuant to Appendix B of the
Rules of the U.S. Court of Federal Claims, the clerk of the court shall enter judgment in
accordance herewith. 5
IT IS SO ORDERED.


                                                     /s/ George L. Hastings, Jr.
                                                     George L. Hastings, Jr.
                                                     Special Master




5Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint
notice renouncing the right to seek review.
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